                         Case 24-31133 Document 83 Filed in TXSB on 04/22/24 Page 1 of 36




Fill in this information to identify the case:

Debtor name         Day One Distribution LLC

United States Bankruptcy Court for the:     SOUTHERN DISTRICT OF TEXAS

Case number (if known)     24-31133
                                                                                                                            Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
              Schedule H: Codebtors (Official Form 206H)
              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
              Amended Schedule       A/B; Summary of Assets and Liabilities
              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
              Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       April 22, 2024                  X
                                                             Signature of individual signing on behalf of debtor

                                                             Michael Bischoff
                                                             Printed name

                                                             CEO of Zero Day Nutrition Company, Managing Member
                                                             Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
                                   Case 24-31133 Document 83 Filed in TXSB on 04/22/24 Page 2 of 36
 Fill in this information to identify the case:

 Debtor name            Day One Distribution LLC

 United States Bankruptcy Court for the:                       SOUTHERN DISTRICT OF TEXAS

 Case number (if known)               24-31133
                                                                                                                                                                                    Check if this is an
                                                                                                                                                                                        amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                   $                  0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                      $         887,241.76

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                     $         887,241.76


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $       1,401,201.46


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $                  0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$         792,414.56


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                            $          2,193,616.02




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
                            Case 24-31133 Document 83 Filed in TXSB on 04/22/24 Page 3 of 36
Fill in this information to identify the case:

Debtor name          Day One Distribution LLC

United States Bankruptcy Court for the:      SOUTHERN DISTRICT OF TEXAS

Case number (if known)        24-31133
                                                                                                                                 Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                       12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

      No. Go to Part 2.
      Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                       debtor's interest

3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     Amegy Bank of Texas                               Checking                              3741                                        $148.17




           3.2.     Ampla                                             Checking                              1500                                           $0.86



4.         Other cash equivalents (Identify all)

5.         Total of Part 1.                                                                                                                       $149.03
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

      No. Go to Part 3.
      Yes Fill in the information below.

Part 3:           Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.
11.        Accounts receivable

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                                       page 1
                         Case 24-31133 Document 83 Filed in TXSB on 04/22/24 Page 4 of 36
Debtor       Day One Distribution LLC                                                       Case number (If known) 24-31133
             Name


          11a. 90 days old or less:                  225,592.50        -                           166,368.00 = ....                    $59,224.50
                                      face amount                             doubtful or uncollectible accounts




          11b. Over 90 days old:                     186,477.70        -                                  0.00 =....                   $186,477.70
                                      face amount                             doubtful or uncollectible accounts



12.       Total of Part 3.                                                                                                         $245,702.20
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:      Investments
13. Does the debtor own any investments?

    No. Go to Part 5.
    Yes Fill in the information below.

Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

    No. Go to Part 6.
    Yes Fill in the information below.
          General description                Date of the last              Net book value of         Valuation method used    Current value of
                                             physical inventory            debtor's interest         for current value        debtor's interest
                                                                           (Where available)

19.       Raw materials

20.       Work in progress

21.       Finished goods, including goods held for resale
          Finished product and
          raw materials.                                                           $567,718.18                                         $567,718.18



22.       Other inventory or supplies

23.       Total of Part 5.                                                                                                         $567,718.18
          Add lines 19 through 22. Copy the total to line 84.

24.       Is any of the property listed in Part 5 perishable?
           No
           Yes
25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
           No
           Yes. Book value                 30,018.00 Valuation method                                    Current Value          30,018.00

26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
           No
           Yes
Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

    No. Go to Part 7.
    Yes Fill in the information below.
Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                          page 2
                         Case 24-31133 Document 83 Filed in TXSB on 04/22/24 Page 5 of 36
Debtor       Day One Distribution LLC                                                       Case number (If known) 24-31133
             Name




Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

    No. Go to Part 8.
    Yes Fill in the information below.
          General description                                            Net book value of          Valuation method used     Current value of
                                                                         debtor's interest          for current value         debtor's interest
                                                                         (Where available)

39.       Office furniture
          Office Furniture, see Exhibit "Part 7 #39"                                 $4,535.95                                           $4,535.95



40.       Office fixtures

41.       Office equipment, including all computer equipment and
          communication systems equipment and software
          Office Marketing Equipment, see Exhibit "Part
          7 #41"                                                                   $10,700.23                                           $10,700.23



42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles

43.       Total of Part 7.                                                                                                             $15,236.18
          Add lines 39 through 42. Copy the total to line 86.

44.       Is a depreciation schedule available for any of the property listed in Part 7?
           No
           Yes
45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
           No
           Yes
Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

    No. Go to Part 9.
    Yes Fill in the information below.
          General description                                            Net book value of          Valuation method used     Current value of
          Include year, make, model, and identification numbers          debtor's interest          for current value         debtor's interest
          (i.e., VIN, HIN, or N-number)                                  (Where available)

47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

          47.1.   2023 BMW 760xi, VIN #8227                                        $58,436.17                                           $58,436.17



48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
          floating homes, personal watercraft, and fishing vessels

49.       Aircraft and accessories


50.       Other machinery, fixtures, and equipment (excluding farm
          machinery and equipment)
Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                          page 3
                         Case 24-31133 Document 83 Filed in TXSB on 04/22/24 Page 6 of 36
Debtor        Day One Distribution LLC                                                 Case number (If known) 24-31133
              Name

           Wall fixture for Glaxon products installed at
           various GNC locations. No value as they are
           custom wall displays.                                              $359,050.00                                                $0.00




51.        Total of Part 8.                                                                                                    $58,436.17
           Add lines 47 through 50. Copy the total to line 87.

52.        Is a depreciation schedule available for any of the property listed in Part 8?
            No
            Yes
53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
            No
            Yes
Part 9:       Real property
54. Does the debtor own or lease any real property?

    No. Go to Part 10.
    Yes Fill in the information below.

Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

    No. Go to Part 11.
    Yes Fill in the information below.
           General description                                        Net book value of       Valuation method used      Current value of
                                                                      debtor's interest       for current value          debtor's interest
                                                                      (Where available)

60.        Patents, copyrights, trademarks, and trade secrets

61.        Internet domain names and websites
           Glaxon license agreement includes usage and
           maintenance of www.Glaxon.com                                             $0.00                                          Unknown



62.        Licenses, franchises, and royalties
           Trademark License with Zero Day Nutrition
           Company for various trademarks and all
           goodwill associated with them.
           Executed 1/1/21 and good for 5 years, then
           automatically renews for 5 years.                                         $0.00                                          Unknown


           Texas Food Manufacturer License                                           $0.00                                               $0.00



63.        Customer lists, mailing lists, or other compilations
           Customer List.                                                            $0.00                                          Unknown



64.        Other intangibles, or intellectual property

65.        Goodwill


Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                     page 4
                          Case 24-31133 Document 83 Filed in TXSB on 04/22/24 Page 7 of 36
Debtor        Day One Distribution LLC                                                     Case number (If known) 24-31133
              Name


66.        Total of Part 10.                                                                                                               $0.00
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
            No
            Yes
68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
            No
            Yes
69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
            No
            Yes
Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

    No. Go to Part 12.
    Yes Fill in the information below.
                                                                                                                             Current value of
                                                                                                                             debtor's interest


71.        Notes receivable
           Description (include name of obligor)

72.        Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

73.        Interests in insurance policies or annuities

74.        Causes of action against third parties (whether or not a lawsuit
           has been filed)

75.        Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

76.        Trusts, equitable or future interests in property

77.        Other property of any kind not already listed Examples: Season tickets,
           country club membership
           Amazon reserve account (for chargebacks and other
           charges) ($11,952.63);
           Intuit Merchant Acccount #1170 - unknown
           Authorize.net #2817 - unknown
           PayArc #0922 - $0
           Amazon (Glaxon Account) #FHX6
           Shopify (Glaxon.com) - no balance, pass through only
           Sezzle - $1,324.18                                                                                                           Unknown



           Capitalized Start-Up Costs - book value - $127,463.63                                                                             $0.00




78.        Total of Part 11.                                                                                                               $0.00
           Add lines 71 through 77. Copy the total to line 90.


Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                        page 5
                       Case 24-31133 Document 83 Filed in TXSB on 04/22/24 Page 8 of 36
Debtor      Day One Distribution LLC                                                Case number (If known) 24-31133
            Name

79.      Has any of the property listed in Part 11 been appraised by a professional within the last year?
          No
          Yes




Official Form 206A/B                            Schedule A/B Assets - Real and Personal Property                      page 6
                               Case 24-31133 Document 83 Filed in TXSB on 04/22/24 Page 9 of 36
Debtor          Day One Distribution LLC                                                                            Case number (If known) 24-31133
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                                 $149.03

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                   $245,702.20

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                             $567,718.18

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                          $15,236.18

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                      $58,436.17

88. Real property. Copy line 56, Part 9.........................................................................................>                               $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                            $887,241.76           + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $887,241.76




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                      page 7
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Fill in this information to identify the case:

Debtor name         Day One Distribution LLC

United States Bankruptcy Court for the:    SOUTHERN DISTRICT OF TEXAS

Case number (if known)    24-31133
                                                                                                                               Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                              04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

      None.
      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                            Operating a business                                $524,403.92
      From 1/01/2024 to Filing Date
                                                                                       Other


      For prior year:                                                                  Operating a business                              $7,737,163.14
      From 1/01/2023 to 12/31/2023
                                                                                       Other


      For year before that:                                                            Operating a business                              $3,895,588.00
      From 1/01/2022 to 12/31/2022
                                                                                       Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

      None.
                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

      None.
      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 1
                        Case 24-31133 Document 83 Filed in TXSB on 04/22/24 Page 11 of 36
Debtor       Day One Distribution LLC                                                           Case number (if known) 24-31133



      Creditor's Name and Address                                  Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                         Check all that apply
      3.1.
             SEE ATTACHED EXHIBIT "SOFA #3"                                                         $58,362.41            Secured debt
                                                                                                                          Unsecured loan repayments
                                                                                                                          Suppliers or vendors
                                                                                                                          Services
                                                                                                                          Other


4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

      None.
      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor
      4.1.   SEE ATTACHED EXHIBIT "SOFA #4"                                                                $_____


5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

      None
      Creditor's name and address                      Describe of the Property                                        Date                Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

      None
      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken
      Triton Recovery LLC                              Letter sent to Intuit on 02/29/24                               Letter sent to            $17,714.50
      3111 N. University Drive                         Last 4 digits of account number: 1125                           Intuit on
      Suite 604                                                                                                        02/29/24
      Pompano Beach, FL 33065

      Triton Recovery LLC                              Letter sent to Intuit on 02/29/24                               Letter sent to            $37,331.40
      3111 N. University Drive                         Last 4 digits of account number: 1125                           Intuit on
      Suite 604                                                                                                        02/29/24
      Pompano Beach, FL 33065


Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

      None.
             Case title                                Nature of case              Court or agency's name and                 Status of case
             Case number                                                           address



Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 2
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   INSIDER PAYMENTS



                            EXHIBIT

                             SOFA #4
Case 24-31133 Document 83 Filed in TXSB on 04/22/24 Page 13 of 36




DAY ONE DISTRIBUTION OFFICER AND PARTNER
              COMPENSATION
            Case 24-31133 Document 83 Filed in TXSB on 04/22/24 Page 14 of 36


Day One Distribution
Pay Stubs - Shareholder Solutions LLC

Check dates
                          to:
from:

                  Check
 Check Date               Total Paid    Net Pay
                Number
               Direct                            View Pay
   11/10/2023              1,442.31     1,442.31
               Deposit                           Stub
               Direct                            View Pay
    11/3/2023              1,442.31     1,442.31
               Deposit                           Stub
               Direct                            View Pay
   10/27/2023              1,442.31     1,442.31
               Deposit                           Stub
               Direct                            View Pay
   10/20/2023              1,442.31     1,442.31
               Deposit                           Stub
               Direct                            View Pay
   10/13/2023              1,442.31     1,442.31
               Deposit                           Stub
               Direct                            View Pay
    10/6/2023              1,442.31     1,442.31
               Deposit                           Stub
               Total       8,653.86
Pay Stubs - Great Zoom LLC

Check dates
                          to:
from:

                Check
 Check Date           Total Paid        Net Pay
               Number
              Direct                             View Pay
    11/3/2023          2,884.62         2,884.62
              Deposit                            Stub
              Direct                             View Pay
   10/27/2023          2,884.62         2,884.62
              Deposit                            Stub
              Direct                             View Pay
   10/20/2023          2,884.62         2,884.62
              Deposit                            Stub
              Direct                             View Pay
   10/13/2023          2,884.62         2,884.62
              Deposit                            Stub
              Direct                             View Pay
    10/6/2023          2,884.62         2,884.62
              Deposit                            Stub
              Total   14,423.10

Michael Bischoff Jr.
                 Check
 Check Date            Total Paid Net Pay
                Number
       Case 24-31133 Document 83 Filed in TXSB on 04/22/24 Page 15 of 36


           Direct                        View Pay
11/10/2023           1,442.31 1,231.28
           Deposit                       Stub
           Direct                        View Pay
 11/3/2023           1,442.31   1,231.29
           Deposit                       Stub
           Direct                        View Pay
10/27/2023           1,442.31   1,231.29
           Deposit                       Stub
           Direct                        View Pay
10/20/2023           1,442.31   1,231.27
           Deposit                       Stub
           Direct                        View Pay
10/13/2023           1,442.31   1,231.29
           Deposit                       Stub
           Direct                        View Pay
 10/6/2023           1,442.31   1,231.29
           Deposit                       Stub

             Total   8,653.86
  Case 24-31133 Document 83 Filed in TXSB on 04/22/24 Page 16 of 36




MICHAEL BISCHOFF LOAN TO DAY ONE DISTRIBUTION
                                 Case 24-31133 Document 83 Filed in TXSB on 04/22/24 Page 17 of 36


Account
Number       Account Type
******3741   Business Inspire Checking
                                            Descriptio
Date         Account                        n          Check #   Deposit Slip ID   Memo   Credit                 Debit
                                            WIRE/XFE
                                            R-
                                            20231220
                                            00008358
                                            ;ORG
                                            MICHAEL
                                            BISCHOFF
  12/20/2023 Day One Distr. Checking        JR 5103                                       $          35,000.00
                                            WIRE/XFE
                                            R-
                                            20231215
                                            00001990
                                            ;ORG
                                            MICHAEL
                                            BISCHOFF
  12/15/2023 Day One Distr. Checking        JR 840                                        $           4,000.00
                                            WIRE/XFE
                                            R-
                                            20231213
                                            00001505
                                            ;ORG
                                            MICHAEL
                                            BISCHOFF
  12/13/2023 Day One Distr. Checking        JR 926                                        $           8,000.00
                                            ONLINE
                                            XFER TO
                                            DDA
                                            BISCHOFF
                                            JR
                                            ID:
                                            00000112
  11/22/2023 Day One Distr. Checking        1                                                                    $ (2,000.00)
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SHAREHOLDER SOLUTIONS TRANSFER TO DAY ONE
              DISTRIBUTION
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                           Account
Account Number             Type
                           Business
                           Inspire
******3741                 Checking
                                    Descriptio           Deposit
Date                       Account  n          Check #   Slip ID   Memo            Credit              Debit
                                    ONLINE
                                    XFER
                                    FROM
                                    DDA
                                    SHAREHO
                                    LDER
                           Day One ID:
                           Distr.   00000123
                 3/12/2024 Checking 2                                              $        2,000.00
                                    ONLINE
                                    XFER
                                    FROM
                                    DDA
                                    SHAREHO
                                    LDER
                           Day One ID:
                           Distr.   00000141
                 2/29/2024 Checking 3                                              $        1,100.00
                                    ONLINE
                                    XFER TO
                                    DDA
                                    SHAREHO
                                    LDER
                           Day One ID:
                           Distr.   00000989
                 1/22/2024 Checking 8                                                                  $ (500.00)
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                      ONLINE
                      XFER
                      FROM
                      DDA
                      SHAREHO
                      LDER
           Day One    ID:
           Distr.     00000015
11/30/2023 Checking   7                                            $        6,000.00
                      ONLINE
                      XFER
                      FROM
                      DDA
                      SHAREHO
                      LDER
           Day One    ID:
           Distr.     00000702
11/27/2023 Checking   4                                            $       12,000.00
                      ONLINE
                      XFER TO
                      DDA
                      SHAREHO
                      LDER
           Day One    ID:
           Distr.     00000272
11/22/2023 Checking   4                                                                $(1,500.00)
                      ONLINE
                      XFER
                      FROM
                      DDA
                      SHAREHO
                      LDER
           Day One    ID:
           Distr.     00000467
 11/9/2023 Checking   8                                            $       4,000.00
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                   ONLINE
                   XFER
                   FROM
                   DDA
                   SHAREHO
                   LDER
          Day One ID:
          Distr.   00000987
10/5/2023 Checking 3                                              $       30,000.00
                   ONLINE
                   XFER
                   FROM
                   DDA
                   SHAREHO
                   LDER
          Day One ID:
          Distr.   00000194
4/25/2023 Checking 7                                              $       42,567.00
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DAY ONE DISTRIBUTION / ZERO DAY TRANSFERS
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Account Number   Account Type
******3741       Business Inspire Checking
Date             Account                          Description                       Check #   Deposit Slip ID   Memo   Credit            Debit
                                                  ONLINE XFER FROM DDA ZERO DAY
      3/14/2024 Day One Distr. Checking           NUT     ID: 000004812                                                $    3,500.00
                                                  ONLINE XFER FROM DDA ZERO DAY
      3/14/2024 Day One Distr. Checking           NUT     ID: 000009587                                                $    1,000.00
                                                  ONLINE XFER FROM DDA ZERO DAY
      3/14/2024 Day One Distr. Checking           NUT     ID: 000004595                                                $        360.00
                                                  ONLINE XFER FROM DDA ZERO DAY
      3/13/2024 Day One Distr. Checking           NUT     ID: 000003614                                                $    2,000.00
                                                  ONLINE XFER FROM DDA ZERO DAY
      3/13/2024 Day One Distr. Checking           NUT     ID: 000000357                                                $    1,500.00
                                                  ONLINE XFER FROM DDA ZERO DAY
      3/12/2024 Day One Distr. Checking           NUT     ID: 000000344                                                $    4,000.00
                                                  ONLINE XFER TO DDA ZERO DAY NUT
       3/8/2024 Day One Distr. Checking           ID: 000008886                                                                          $          (750.00)
                                                  ONLINE XFER FROM DDA ZERO DAY
       3/8/2024 Day One Distr. Checking           NUT     ID: 000007000                                                $    6,500.00
                                                  ONLINE XFER FROM DDA ZERO DAY
       3/5/2024 Day One Distr. Checking           NUT     ID: 000004235                                                $    9,950.00
                                                  ONLINE XFER TO DDA ZERO DAY NUT
      2/22/2024 Day One Distr. Checking           ID: 000006448                                                                          $        (2,000.00)
                                                  ONLINE XFER FROM DDA ZERO DAY
      2/15/2024 Day One Distr. Checking           NUT     ID: 000003468                                                $    4,000.00
                                                  ONLINE XFER TO DDA ZERO DAY NUT
       2/9/2024 Day One Distr. Checking           ID: 000002989                                                                          $       (20,000.00)
                                                  ONLINE XFER TO DDA ZERO DAY NUT
       2/9/2024 Day One Distr. Checking           ID: 000005750                                                                          $        (5,000.00)
                                                  ONLINE XFER FROM DDA ZERO DAY
      1/26/2024 Day One Distr. Checking           NUT     ID: 000005495                                                $    2,000.00
                                                  ONLINE XFER TO DDA ZERO DAY NUT
      1/19/2024 Day One Distr. Checking           ID: 000000620                                                                          $       (10,000.00)
                                                  ONLINE XFER TO DDA ZERO DAY NUT
      1/11/2024 Day One Distr. Checking           ID: 000009732                                                                          $       (10,000.00)
                                                  ONLINE XFER TO DDA ZERO DAY NUT
       1/4/2024 Day One Distr. Checking           ID: 000001146                                                                          $        (4,000.00)
                                                  ONLINE XFER FROM DDA ZERO DAY
     12/28/2023 Day One Distr. Checking           NUT     ID: 000009764                                                $    7,600.00
                                                  ONLINE XFER FROM DDA ZERO DAY
     12/26/2023 Day One Distr. Checking           NUT     ID: 000004368                                                $    7,000.00
                                                  ONLINE XFER TO DDA ZERO DAY NUT
     12/21/2023 Day One Distr. Checking           ID: 000008792                                                                          $       (30,200.00)
                                                  ONLINE XFER TO DDA ZERO DAY NUT
     12/11/2023 Day One Distr. Checking           ID: 000004890                                                                          $        (5,000.00)
                                                  ONLINE XFER TO DDA ZERO DAY NUT
     11/28/2023 Day One Distr. Checking           ID: 000007874                                                                          $        (5,000.00)
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                                             ONLINE XFER FROM DDA ZERO DAY
11/17/2023 Day One Distr. Checking           NUT     ID: 000000392                                       $   9,900.00
                                             ONLINE XFER TO DDA ZERO DAY NUT
11/13/2023 Day One Distr. Checking           ID: 000002730                                                              $       (100.00)
                                             ONLINE XFER TO DDA ZERO DAY NUT
11/13/2023 Day One Distr. Checking           ID: 000002621                                                              $     (1,000.00)
                                             ONLINE XFER TO DDA ZERO DAY NUT
11/10/2023 Day One Distr. Checking           ID: 000000784                                                              $    (10,000.00)
                                             ONLINE XFER TO DDA ZERO DAY NUT
 11/7/2023 Day One Distr. Checking           ID: 000009014                                                              $    (55,000.00)
                                             ONLINE XFER TO DDA ZERO DAY NUT
 11/6/2023 Day One Distr. Checking           ID: 000003052                                                              $    (20,000.00)
                                             ONLINE XFER TO DDA ZERO DAY NUT
10/30/2023 Day One Distr. Checking           ID: 000008287                                                              $    (50,000.00)
                                             ONLINE XFER TO DDA ZERO DAY NUT
10/27/2023 Day One Distr. Checking           ID: 000008670                                                              $    (15,000.00)
                                             AMEX EPAYMENT 0005000040ACH
                                             PMT CCDCOP000005619526ZERO
                                             DAY NUTRITION REF #
10/25/2023 Day One Distr. Checking           023298005627528                                                            $    (23,394.49)
                                             ONLINE XFER TO DDA ZERO DAY NUT
10/23/2023 Day One Distr. Checking           ID: 000005942                                                              $    (20,000.00)
                                             AMEX EPAYMENT 0005000040ACH
                                             PMT CCDCOP000005615526ZERO
                                             DAY NUTRITION REF #
10/20/2023 Day One Distr. Checking           023293002523306                                                            $    (23,394.49)
                                             ONLINE XFER TO DDA ZERO DAY NUT
10/18/2023 Day One Distr. Checking           ID: 000001528                                                              $    (50,000.00)
                                             ONLINE XFER TO DDA ZERO DAY NUT
 10/4/2023 Day One Distr. Checking           ID: 000006226                                                              $    (20,000.00)
                                             ONLINE XFER TO DDA ZERO DAY NUT
 10/3/2023 Day One Distr. Checking           ID: 000000321                                                              $   (100,000.00)
                                             AMEX EPAYMENT 0005000040ACH
                                             PMT CCDCOP000005583185ZERO
                                             DAY NUTRITION REF #
 9/18/2023 Day One Distr. Checking           023261002796384                                                            $    (39,454.08)
                                             ONLINE XFER TO DDA ZERO DAY NUT
 9/15/2023 Day One Distr. Checking           ID: 000000328                                                              $   (150,000.00)
                                             AMEX EPAYMENT 0005000040ACH
                                             PMT CCDCOP000005573226ZERO
                                             DAY NUTRITION REF #
  9/7/2023 Day One Distr. Checking           023250005255331                                                            $    (57,388.15)
                                             ONLINE XFER TO DDA ZERO DAY NUT
 8/15/2023 Day One Distr. Checking           ID: 000000967                                                              $    (50,000.00)
                                             ONLINE XFER TO DDA ZERO DAY NUT
 8/14/2023 Day One Distr. Checking           ID: 000007566                                                              $    (80,000.00)
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                                            AMEX EPAYMENT 0005000040ACH
                                            PMT CCDCOP000005550291ZERO
                                            DAY NUTRITION REF #
8/11/2023 Day One Distr. Checking           023223002174847                                                             $    (47,987.05)
                                            AMEX EPAYMENT 0005000040ACH
                                            PMT CCDCOP000005545329ZERO
                                            DAY NUTRITION REF #
 8/8/2023 Day One Distr. Checking           023220008956518                                                             $    (52,673.73)
                                            ONLINE XFER TO DDA ZERO DAY NUT
 8/8/2023 Day One Distr. Checking           ID: 000003619                                                               $   (200,000.00)
                                            ONLINE XFER TO DDA ZERO DAY NUT
 8/1/2023 Day One Distr. Checking           ID: 000001625                                                               $   (200,000.00)
                                            ONLINE XFER TO DDA ZERO DAY NUT
7/24/2023 Day One Distr. Checking           ID: 000005727                                                               $    (70,000.00)
                                            ONLINE XFER TO DDA ZERO DAY NUT
7/21/2023 Day One Distr. Checking           ID: 000003971                                                               $    (60,000.00)
                                            AMEX EPAYMENT 0005000040ACH
                                            PMT CCDCOP000005522667ZERO
                                            DAY NUTRITION REF #
7/14/2023 Day One Distr. Checking           023194007433196                                                             $    (47,679.38)
                                            ONLINE XFER TO DDA ZERO DAY NUT
7/13/2023 Day One Distr. Checking           ID: 000009494                                                               $   (220,000.00)
                                            AMEX EPAYMENT 0005000040ACH
                                            PMT CCDCOP000005499402ZERO
                                            DAY NUTRITION REF #
6/20/2023 Day One Distr. Checking           023171005161881                                                             $    (77,352.42)
                                            ONLINE XFER TO DDA ZERO DAY NUT
5/31/2023 Day One Distr. Checking           ID: 000005860                                                               $   (195,000.00)
                                            ONLINE XFER TO DDA ZERO DAY NUT
5/25/2023 Day One Distr. Checking           ID: 000003200                                                               $    (15,000.00)
                                            ONLINE XFER TO DDA ZERO DAY NUT
5/25/2023 Day One Distr. Checking           ID: 000001509                                                               $    (19,000.00)
                                            ONLINE XFER TO DDA ZERO DAY NUT
5/24/2023 Day One Distr. Checking           ID: 000004690 522                                           $   42,000.00
                                            ONLINE XFER TO DDA ZERO DAY NUT
5/23/2023 Day One Distr. Checking           ID: 000004690                                                               $    (42,000.00)
                                            ONLINE XFER TO DDA ZERO DAY NUT
5/22/2023 Day One Distr. Checking           ID: 000004690                                                               $    (42,000.00)
                                            AMEX EPAYMENT 0005000040ACH
                                            PMT CCDCOP000005471940ZERO
                                            DAY NUTRITION REF #
5/19/2023 Day One Distr. Checking           023139009942134                                                             $    (19,108.53)
                                            ONLINE XFER FROM DDA ZERO DAY
5/19/2023 Day One Distr. Checking           NUT     ID: 000008104                                       $    4,000.00
                                            ONLINE XFER FROM DDA ZERO DAY
4/27/2023 Day One Distr. Checking           NUT     ID: 000009634                                       $ 126,000.00
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                                            AMEX EPAYMENT 0005000040ACH
                                            PMT CCDCOP000005443423ZERO
                                            DAY NUTRITION REF #
4/19/2023 Day One Distr. Checking           023109002980288                                             $    (54,952.02)
                                            ONLINE XFER TO DDA ZERO DAY NUT
4/18/2023 Day One Distr. Checking           ID: 000008091                                               $   (170,000.00)
                                            ONLINE XFER TO DDA ZERO DAY NUT
 4/7/2023 Day One Distr. Checking           ID: 000007107                                               $    (50,000.00)
                                            ONLINE XFER TO DDA ZERO DAY NUT
3/24/2023 Day One Distr. Checking           ID: 000001156                                               $    (20,000.00)
                                            ONLINE XFER TO DDA ZERO DAY NUT
3/16/2023 Day One Distr. Checking           ID: 000000468                                               $   (200,000.00)
                                            AMEX EPAYMENT 0005000040ACH
                                            PMT CCDCOP000005412058ZERO
                                            DAY NUTRITION REF #
3/15/2023 Day One Distr. Checking           023074003303841                                             $    (64,579.41)
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     DAY ONE DISTRIBUTION TO GREAT ZOOM
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Type              Num   Date       Amount
Bill Pmt -Check   ACH    2/12/2024 $ 3,000.00
Bill Pmt -Check   ACH     2/2/2024 $ 5,000.00
Bill Pmt -Check   ACH    1/29/2024 $ 3,000.00
Bill Pmt -Check   ACH    1/29/2024 $ 2,000.00
Bill Pmt -Check   ACH     1/5/2024 $ 5,000.00
Bill Pmt -Check   ACH    8/16/2023 $ 8,000.00
Bill Pmt -Check   ACH    7/24/2023 $ 10,000.00
                                   $ (36,000.00)
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Debtor       Day One Distribution LLC                                                          Case number (if known) 24-31133



             Case title                               Nature of case              Court or agency's name and              Status of case
             Case number                                                          address
      7.1.   Jasmine Gamez v. Zero Day                Class Action                US District Court                        Pending
             Nutrition Company, et al                 Complaint, 1.               Central District of California           On appeal
             EDCV 22-1655 JCB                         Violation of                                                         Concluded
                                                      California Unfair
                                                      Competition law,
                                                      business and
                                                      professions code;
                                                      2. False and
                                                      misleading
                                                      advertising in
                                                      violation of
                                                      business and
                                                      professions code;
                                                      3. Violation of
                                                      California
                                                      consumers legal
                                                      remedies act; 4.
                                                      Unjust
                                                      enrichment; 5.
                                                      Common law
                                                      fraud; 6.
                                                      Intentional
                                                      misrepresentation
                                                      ; 7. Negligent
                                                      misoresentation.
                                                      This was
                                                      dismissed.


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

      None

Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

      None
             Recipient's name and address             Description of the gifts or contributions                 Dates given                          Value

      9.1.   Live Well Foundation                     Donation
                                                                                                                9/14/22                        $5,000.00

             Recipients relationship to debtor
             None


      9.2.   The Brenda & John H.                     Donation
             Guncan Rise School
                                                                                                                2/1/23                         $5,000.00

             Recipients relationship to debtor
             None


Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.
Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 3
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Debtor        Day One Distribution LLC                                                           Case number (if known) 24-31133




      None
      Description of the property lost and            Amount of payments received for the loss                  Dates of loss           Value of property
      how the loss occurred                                                                                                                          lost
                                                      If you have received payments to cover the loss, for
                                                      example, from insurance, government compensation, or
                                                      tort liability, list the total received.

                                                      List unpaid claims on Official Form 106A/B (Schedule
                                                      A/B: Assets – Real and Personal Property).

Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

      None.
               Who was paid or who received             If not money, describe any property transferred               Dates              Total amount or
               the transfer?                                                                                                                      value
               Address
      11.1.                                                                                                           2/12/24 -
                                                                                                                      $10,000
                                                                                                                      (from Zero
                                                                                                                      Day
                                                                                                                      Nutrition)
                                                                                                                      3/11/24 -
                                                                                                                      $15.000
                                                                                                                      (from Day
                                                                                                                      One
                                                                                                                      Distribution
                                                                                                                      )
                                                                                                                      3/12/24 -
                                                                                                                      $15,000
                                                                                                                      (from Zero
                                                        Debtors collectively paid $50,000.00, plus                    Day
                                                        $3,476.00 for filing fees, to HF prior to                     Nutrition)
                                                        bankruptcy filing on dates listed below.                      3/12/24 -
                                                        On March 12, 2024, HF applied $25,530.00,                     $13,476
               Haselden Farrow PLLC                     plus $3,476.00, to prepetition invoices and                   (from Day
               700 Milam                                expenses, including filing fees, leaving a                    One
               Suite 1300                               post petition retainer of $24,470.00 for                      Distribution
               Houston, TX 77002                        these jointly administered cases.                             )                       $53,476.00

               Email or website address
               www.HaseldenFarrow.com

               Who made the payment, if not debtor?
               Debtor and Zero Day Nutrition
               (co-debtor)



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

      None.
      Name of trust or device                           Describe any property transferred                    Dates transfers             Total amount or
                                                                                                             were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 4
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Debtor      Day One Distribution LLC                                                            Case number (if known) 24-31133



    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

      None.
             Who received transfer?                    Description of property transferred or                    Date transfer               Total amount or
             Address                                   payments received or debts paid in exchange               was made                             value

 Part 7:    Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


      Does not apply
               Address                                                                                             Dates of occupancy
                                                                                                                   From-To

Part 8:     Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

          No. Go to Part 9.
      Yes. Fill in the information below.

               Facility name and address               Nature of the business operation, including type of services               If debtor provides meals
                                                       the debtor provides                                                        and housing, number of
                                                                                                                                  patients in debtor’s care

Part 9:     Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

      No.
          Yes. State the nature of the information collected and retained.

                Billing details for bank and credit card information, shipping address
                details. Stored in shipping application and QuickBooks.
                Does the debtor have a privacy policy about that information?
                 No
                 Yes
17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

          No. Go to Part 10.
      Yes. Does the debtor serve as plan administrator?

Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units




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Debtor      Day One Distribution LLC                                                             Case number (if known) 24-31133




18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

      None
               Financial Institution name and           Last 4 digits of           Type of account or          Date account was                  Last balance
               Address                                  account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


      None
      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


      None
      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

     None

Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

          No.
      Yes. Provide details below.
      Case title                                             Court or agency name and              Nature of the case                          Status of case
      Case number                                            address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

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Debtor      Day One Distribution LLC                                                           Case number (if known) 24-31133



          No.
      Yes. Provide details below.
      Site name and address                                Governmental unit name and                Environmental law, if known               Date of notice
                                                           address

24. Has the debtor notified any governmental unit of any release of hazardous material?

          No.
      Yes. Provide details below.
      Site name and address                                Governmental unit name and                Environmental law, if known               Date of notice
                                                           address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

      None
   Business name address                            Describe the nature of the business               Employer Identification number
                                                                                                      Do not include Social Security number or ITIN.

                                                                                                      Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
          None
      Name and address                                                                                                                Date of service
                                                                                                                                      From-To
      26a.1.        Amy Maher                                                                                                         10/20 - present
                    12502 Exchange Dr #448
                    Stafford, TX 77477
      26a.2.        Hanan Soliman                                                                                                     08/2022 - 01/2024
                    12502 Exchange Dr #448
                    Stafford, TX 77477
      26a.3.        Annette Hoover                                                                                                    02/2023 - 03/2024
                    12502 Exchange Dr # 448
                    Stafford, TX 77477
      26a.4.        Abbie Eiley                                                                                                       06/2022 - 10/2022
                    12502 Exchange Dr #448
                    Stafford, TX 77477
      26a.5.        Esther Trevino                                                                                                    10/2022 - 05/2023
                    12502 Exchange Dr #448
                    Stafford, TX 77477
      26a.6.        Chadwick Rood                                                                                                     10/2020 - 06/2022
                    12502 Exchange Dr #448
                    Stafford, TX 77477

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

           None




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      Name and address                                                                                                              Date of service
                                                                                                                                    From-To
      26b.1.        Melton & Melton LLP



    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

           None
      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why
      26c.1.        Melton & Melton LLP


      26c.2.        Stewart Nixon
                    12502 Exchange Dr. #448
                    Stafford, TX 77477
      26c.3.        Michael Bischoff
                    12502 Exchange Dr #448
                    Stafford, TX 77477
      26c.4.        Amy Maher
                    12502 Exchange Dr #448
                    Stafford, TX 77477

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

           None
      Name and address
      26d.1.  Ampla LLC


      26d.2.        Ouiby Inc. dba Kickfurther


      26d.3.        Melton & Melton LLP


      26d.4.        3PCG Inc.
                    1019 Avenue P
                    Suite 401
                    Brooklyn, NY 11223
      26d.5.        Cash Fund
                    110 16th Street
                    Suite 901
                    Denver, CO 80202
      26d.6.        SBA



27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

          No
      Yes. Give the details about the two most recent inventories.


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             Name of the person who supervised the taking of the                   Date of inventory        The dollar amount and basis (cost, market,
             inventory                                                                                      or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Zero Day Nutrition                     12502 Exchange Drive                                General partner                         91
      Company                                Suite 448
                                             Stafford, TX 77477
      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Samuel Strange                         12502 Exchange Dr. Suite 448                        President of Great Zoom, LLC            9
                                             Stafford, TX 77477



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


      No
          Yes. Identify below.

      Name                                   Address                                             Position and nature of any         Period during which
                                                                                                 interest                           position or interest
                                                                                                                                    was held
      Sam Strange                            1111 E Sunrise Blvd #407                                                               09/01/19 - 07/20/23
                                             Fort Lauderdale, FL 33304


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

      No
          Yes. Identify below.

             Name and address of recipient            Amount of money or description and value of               Dates               Reason for
                                                      property                                                                      providing the value
      30.1 SEE EXHIBIT "SOFA #4"
      .

             Relationship to debtor




31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

          No
      Yes. Identify below.
   Name of the parent corporation                                                                     Employer Identification number of the parent
                                                                                                      corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

          No
      Yes. Identify below.
   Name of the pension fund                                                                           Employer Identification number of the pension
                                                                                                      fund



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Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         April 22, 2024

                                                                Michael Bischoff
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   CEO of Zero Day Nutrition Company,
                                     Managing Member

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
 No
 Yes




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